          Case: 1:15-cv-06151 Document #: 1 Filed: 07/13/15 Page 1 of 41 PageID #:175


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                                     UNITED STATES DISTRICT COURT
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                                     NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION




     (Enter above the full numi
     of the plaintiff or plaintiffs in
     this action)
                                                          15c 6151
                                                        . Judge Thomas M. Durkin
                                                        r ttagistrate Judge Giiil Cote
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 defendants in this action. Do no[
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            ONE ONLY:
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 v                coMpLAINT ,NDER THE clv,, RIGHTS ACT,
                                                        TITLE
                  U.S. Code (state, county, or municipal defendants)
                                                                              42   sEcrIoN     1983


                 CoMPLAINT UNDER THE CONSTITUTION                    (" BIVENS" ACTIOI9,
                 28 SECTION
                                                                                           TITLE
                                  l33l   U.S. Code (federal defendants)

                 OTHER (cite     srarute,   if known)
BEFORE FILLING OUT THIS COMPLAINT,
                                   PLEASE REFER TO "INSTRUCNONS FOR
FILING." FOLLOW THESE INSTRACTIONS CENiTAUY,
         Case: 1:15-cv-06151 Document #: 1 Filed: 07/13/15 Page 2 of 41 PageID #:176




  L            Plaintiff(s):

               A.           Name:




              C.        Prisoner identification number:

              D.        Place of present confinement,

             E.        Address:

             (If there is more than one plaintif{,
                                                   lhen each plaintiff must list his or her name, aliases, I.D.
             number' place of confiniment,
                                                and current'address according to the above format
             separate sheet of paper.)                                                                    on a

II.          Defendant(s);
             (In A below' place the full
                                         name of the first defendant in the first
                                                                                  blank, his or her official
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            for two additional defendants i, proriJ.j
                                                        in B and C.)
         A.          Defendant:

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                    Place     of Ernploym"nt,

        B.          Defendant:

                    Title:

                   Place of Employment:

       C.          Defendant:

                   Title:

                   Place of Employment:

      (If you have more than three dcfcndants,
                                                   then ail additionar defendants must be listed
      according to the above frrrmat
                                     on a separate sheet of puper.j




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  Case: 1:15-cv-06151 Document #: 1 Filed: 07/13/15 Page 3 of 41 PageID #:177



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or,.      \e*\$t       R"*ceex ,"tn c"
              Case: 1:15-cv-06151 Document #: 1 Filed: 07/13/15 Page 4 of 41 PageID #:178




       III'         List ALL l"Y:u.loI9u (and your
                                                   co-plaintiffs, if any) have filed in any stare or federal
                    court in the Unifed States:

                   A- -- - Namqof caseand-doekel numbei:


                   B.         Approximate date of filing    lawsuit: n,oJ€.
                   C.         List all plaintiffs (if you had co-ptaintiffs),
                                                                              iryruding any ariases:




               D.            List all defendants:




                             court in which   the lawsuit was filed   (if federal court, name the district; ifstate coufi,
                          narne the county):

              F,                                 --
                         Name ofjudge to whorn case was assigned:               \ \ ^ "^ --

          G.             Basic claim made:



          H.            Disposition of this case (for
                                                                        Was the case dismissed? Was it appea.led?
                        Isit still pending?): I



                        Approximate date of      disposition,M
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PLAINTIFFS TUUST ALSO LIST ALL
                               CASES THE'HAYE FILED.




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IU_.     Statement of Claim:

        state here as briefly as possible the
                                               facts of y,o-ul-cesgr De-scribE.how each defendanris-,-
        involved'inctuding namr., aa;;-i prut;;
                                                       oo noilive any tegar arguments orcite any
        cases or statutes' If you intend
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        each claim in a separate paragraph.                                                   forth
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       Case: 1:15-cv-06151 Document #: 1 Filed: 07/13/15 Page 6 of 41 PageID #:180



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     Case: 1:15-cv-06151 Document #: 1 Filed: 07/13/15 Page 7 of 41 PageID #:181



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  v.         Relief:


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VI.    The   plaintiff demands thar the
                                        case be tried by a jury.
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                                                              CERTIFICATION
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